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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 17-61411-CIV-MARRA

  NEW CONCEPT DENTAL,

         Plaintiff,

  vs.

  DENTAL RESOSURCE SYSTEMS, INC.
  A/K/A TRUDENTA,

        Defendant.
  __________________________________________/

                                     ORDER CLOSING CASE

         THIS CAUSE is before the Court upon the parties’ joint stipulation of dismissal with

  prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) filed November 13, 2021 [DE 120], which

  pursuant to Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012), operates as a self-

  executing document and dismisses the case with prejudice upon filing.

         It is accordingly ORDERED AND ADJUDGED:

         As this case has now effectively been dismissed by voluntary notice of the parties, pursuant

  to Fed. R. Civ. P. 41, the Clerk of the Court is directed to enter this case as CLOSED and terminate

  any pending motions as MOOT.

         DONE AND SIGNED in Chambers at West Palm Beach, Florida this 15th day of

  November, 2021.




                                                                KENNETH A. MARRA
                                                                United States District Judge
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  cc. all counsel
